       Case 2:18-cv-00527-CWD Document 6 Filed 03/18/19 Page 1 of 20




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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF IDAHO

MARK and CLARISSA MEAD,
individually and in their marital          CASE NO. 2:18-cv-00527-CWD
community; GERALD and CAROLE
GRIFFIN, individually and in their
marital community; VINCENT and             FIRST AMENDED COMPLAINT
WENDY POMPONI, individually and            FOR DAMAGES
in their marital community; BORIS and
RACHAEL VRBETA, individually; and          JURY TRIAL DEMANDED
THE ESTATE OF BORIS VRBETA,
             Plaintiffs,
VS.
STATE OF IDAHO; BONNER
COUNTY; DAN MCDONALD,
individually and in his Representative
capacity; and JEFF CONNOLLY,
individually and in his representative
capacity,
             Defendants.



      Come now Plaintiffs, and by way of Complaint against Defendants allege as

follows:




FIRST AMENDED COMPLAINT FOR DAMAGES AND
JURY DEMAND - 1
       Case 2:18-cv-00527-CWD Document 6 Filed 03/18/19 Page 2 of 20



                                          I. PARTIES
     1.        Plaintiffs are residents of Idaho, except Vincent and Wendy
Pomponi, who are residents of Washington State.
     2.        In compliance with Title 6, Chapter 9, Idaho Code, the undersigned
herby presents suit against the State of Idaho for damages arising out of the
occurrence detailed below.

     3.        Defendant Bonner County is a political subdivision of Idaho.
     4.        Bonner County, as a political subdivision of Idaho, is subject
to federal or state jurisdiction and is not immune to suit based on its
conduct in this matter.
     5.        The individual Defendants were, at all times pertinent to this action,
Commissioners of Bonner County.
     6.        Bonner county is vicariously liable for all acts and omissions of
the individual Defendants and/or through agency/acting in concert and/or
partnership.
     7.        The State of Idaho, Dan McDonald, Jeff Connolly, and Bonner
County are joint actors in regard to the acts and omissions listed below.

     8.        Jurisdiction is appropriate in this Court under 28 U.S.C. § 1391(b).
     9.        Plaintiffs seek recovery under 42 U.S.C. § 1983 and thus original
federal subject matter jurisdiction is present in this matter.

                         II.   JURISDICTION AND VENUE
     11.       The Court has federal-question subject matter jurisdiction pursuant
 to 28 U.S.C. § 1331 because the suit arises under federal law, and supplemental


FIRST AMENDED COMPLAINT FOR DAMAGES AND
JURY DEMAND - 2
          Case 2:18-cv-00527-CWD Document 6 Filed 03/18/19 Page 3 of 20




 jurisdiction over Plaintiffs’ Idaho state law claims under 28 U.S.C. § 1367(a)
 Plaintiffs exhausted administrative remedies. Plaintiffs served a Notice of Tort
 Claim against all Defendants.
      12.      The United States District Court for Idaho has personal jurisdiction
 over the parties and subject matter jurisdiction for the claims in this complaint
 pursuant to 28 U.S.C. § 1367(a).
      13.      Plaintiffs have complied with all legal pre-requisites in the bringing of
 the action.
                                      III. FACTS
      14.      Upon information and belief in November of 1916 James Myers
 acquired a homestead in Sections 14 and 23 of township 58 N Range 4 W. In 1915
 Edward Gilbert applied for and was living on and improving the land as per
 requirements of the Homestead Act of 1862. Mr. Gilbert received the Patent on
 parts of section 13 and section 14 of township 58 N Range 4 W in January of
 1919. The State of Idaho acquired the remaining 492 acres of section 14 in 1917
 from the United States.
      15.      In 1919, Edward Gilbert and James Myers homesteaded the
 remaining acreage in section 14 and acquired those lands from the United States
 (Exhibits 1 and 2). Plaintiffs’ land was subsequently purchased from these
 lands.
      16.      In 1934, Gilbert granted the State of Idaho an easement for the
 construction and maintenance of a public road. The road was called “East River
 Road Project”. Exhibit 3.

FIRST AMENDED COMPLAINT FOR DAMAGES AND
JURY DEMAND - 3
       Case 2:18-cv-00527-CWD Document 6 Filed 03/18/19 Page 4 of 20




      17.   In 1990, after a series of transfers, the property at the heart of this
 dispute was transferred to Stephens, subject to Idaho's easement. Exhibit 4.
      18.   From at least 1990 to 1998, Defendants Bonner County and the State
 of Idaho maintained the East River Road, now known as East River Spur Road,
 pursuant to the road construction and maintenance easement. This maintenance
 included the construction and maintenance of a bridge over the North Fork of the
 East River, which is part of the road and easement. The maintenance also
 included plowing the road during the winter to allow school bus passage to the
 property owners on the other side of the bridge. For those property owners on the
 other side of the bridge, that bridge constituted the only reasonable year-round
 access to the properties of the Plaintiffs herein.
      19.   The Idaho Department of Transportation records reveal that the North
 Fork of the East River bridge was inspected as early as 1979. On November 12,
 1979, JUB Engineers, Inc. provided a Bridge Inspection Field Report executed
 by Bryce Grachal and Joseph Haynes. Exhibit 5.
      20.   And September 2, 1988, Bonner County threatened it would no
 longer maintain the East River Spur Road.
      21.    In 1998, Bonner County again threatened to stop maintaining the
 bridge over the North Fork of the East River which is and was part of the East
 River Spur Road. Despite this threat, Bonner County continued maintaining the
 road. Exhibit 6.




FIRST AMENDED COMPLAINT FOR DAMAGES AND
JURY DEMAND - 4
       Case 2:18-cv-00527-CWD Document 6 Filed 03/18/19 Page 5 of 20




     22.    In 1998 and 1999, Bonner County replaced the bridge deck because
 of its maintenance obligations under the easement. Following the replacement of
 the bridge deck, the NBI rating rose from a 3 to a 9.
     23.    In 1998, plaintiffs Gilbert Griffin purchased their subject property in
 Bonner County Idaho. In 1999, Boris and Rachel Vrbeta purchased their
 property in Bonner County Idaho.
     24.    Plaintiffs’ Mead and Pomponi likewise also acquired property on the
 other side of the East River Spur Road bridge spanning the North Fork of the
 East River. All these property transfers were made during the time Bonner
 County and/or the State of Idaho were maintaining the East River Spur Road as
 required under the easement transfer.
     25.    In 2009, the State of Idaho negligently harvested trees off its land
 above the East River Spur Road. In 2012 and 2015, as a result of this
 negligence, a land slide or slump occurred obstructing the road. The State of
 Idaho attempted to repair the slump days after it occurred.
     26.    Between 1998 and 2013, the Defendants intentionally and/or
 negligently failed to maintain the East River Spur Road, allowing the bridge
 rating to drop from a 9 to a 2. Exhibit 7.
     27.    In 2015, the State of Idaho notified Plaintiffs that it was going to stop
 maintaining the road including the bridge because of rapid deterioration, when in
 fact the bridge had been deteriorating under the watch of the Defendants for
 almost three decades. Exhibit 8.



FIRST AMENDED COMPLAINT FOR DAMAGES AND
JURY DEMAND - 5
       Case 2:18-cv-00527-CWD Document 6 Filed 03/18/19 Page 6 of 20




     28.    In 2016, the State of Idaho offered to Bonner County the East Spur
 River Road easement to Bonner County for $3,900. Exhibit 9.
     29.    On September 29, 2016, Bonner County elected to purchase the
 easement and acknowledged that the bridge replacement costs came along with
 the easement and was estimated at that time to be approximately $50,000.
 Exhibit 10.
     30.    October 25, 2016, the State of Idaho officially transferred the East
 River Spur Road easement to Bonner County which required Bonner County to
 “perform all road construction, reconstruction and maintenance work in the
 easement area in compliance with all applicable federal, state and local laws and
 rules, as they exist from time to time form of this easement.” the agreement also
 required Bonner County to “keep easement area and all road improvements,
 including [the] bridge… in good repair…[and] at its own expense.” Exhibit 11.
     31.       The State of Idaho subsequently acknowledged and reaffirmed
 Bonner County’s obligation to provide Plaintiffs herein with continued access to
 their properties. Exhibit 12.
     32.    On June 13, 2017, Bonner County unilaterally decided it was going to
 discontinue maintenance of the subject easement area for budgetary purpose.
 Exhibit 13.
     33.    The State of Idaho responded to Bonner County's unilateral decision
 to terminate the easement by disagreeing with the decision and stating the baseis
 for its disagreement with the County’s proposed action. Exhibit 14.



FIRST AMENDED COMPLAINT FOR DAMAGES AND
JURY DEMAND - 6
       Case 2:18-cv-00527-CWD Document 6 Filed 03/18/19 Page 7 of 20




     34.    Among other things, the State of Idaho took the position that the
 easement requires ordinary and necessary expenses for the maintenance of the
 easement. Exhibit 14.
     35.    On April 26, 2017, Bonner County believed to cost to repair the
 bridge was now $70,000.00. Exhibit 15.
     36.    Instead of abiding by the contract, Bonner County chose to do
 nothing, and the bridge deteriorated to the point where the State Highway
 Department instructed Bonner County to close the bridge for safety reasons on
 August 10, 2017. Exhibit 16.
     37.    Bonner County presented Plaintiffs with a memorandum of
 agreement requiring Plaintiffs to execute a new easement and be responsible for
 maintaining the easement and releasing Bonner County of future liability.
 Exhibit 17. Plaintiffs refused to execute this agreement illegally terminating
 Bonner county's obligations to maintain the road, including the bridge, at its
 expense.
     38.    Subsequently, Bonner County unilaterally, and against the advice of
 the State of Idaho, passed two resolutions on August 15th, 2017 closing the
 bridge and declaring the East River Spur Road as an unmaintained right of way.
 Exhibits 18 and 19.
     39.     On August 17, 2017, defendant Dan McDonald arrived at the bridge
 along with 3 sheriff deputies an ordered the bridge to be closed. Jersey barriers
 were erected physically preventing the residents on the other side of the bridge
 year-round access to their property.

FIRST AMENDED COMPLAINT FOR DAMAGES AND
JURY DEMAND - 7
       Case 2:18-cv-00527-CWD Document 6 Filed 03/18/19 Page 8 of 20




      40.   On August 17, 2017, Plaintiffs Mead immediately lost their
 chiropractic patients because patients could no longer access his office. The
 rental income from Mead’s office was lost to Plaintiffs Vrbeta.
      41.   Plaintiffs protested the bridge closure in writing and verbally to no
 avail. As the 2017/2018 winter set in, the Plaintiffs living on the other side of the
 bridge were landlocked. Prior to winter it was suggested by the State of Idaho
 that the Plaintiffs park one car on each side of the bridge using one car to get to
 the bridge, then walking across the bridge, and using the other car. This
 suggestion was physically impossible.
      42.   In February of 2002 Boris Vrbeta had a medical emergency and
 because the bridge was closed, the emergency medical technicians had to park
 the ambulance approximately 2.2 miles away and used snowmobiles to access
 the Vrbeta property. The decision was made to medically evacuate Boris but
 because the bridge was not rated for the weight of the ambulance, they had to do
 it via snowmobile. The EMTs had no choice but to strap Boris to a sled that was
 to be pulled behind the snowmobile and pulled him the 2.2 miles out over the
 snow to the ambulance. It took nearly 5 hours to get Boris to the hospital.
      43.   Boris was ultimately diagnosed with pneumonia. Although the
 pneumonia was not caused by the road closure or the subsequent snowmobile
 sled evacuation, Boris’ condition was aggravated, elevated and made worse as a
 consequence of the foreseeable need to be evacuated.




FIRST AMENDED COMPLAINT FOR DAMAGES AND
JURY DEMAND - 8
        Case 2:18-cv-00527-CWD Document 6 Filed 03/18/19 Page 9 of 20




       44.   Boris ultimately succumbed to pneumonia. The snowmobile sled
 evacuation caused by the intentional acts and/or negligence of the defendants
 aggravated his pneumonia and was a substantial factor in Boris’s death.
       45.   On February 5, 2018, the State of Idaho reaffirmed its commitment to
 assist Bonner County with maintaining the bridge for the benefit of Plaintiffs.
       46.   On March 9, 2018, the State of Idaho made an offer to Plaintiffs to
 either permanently or temporarily obtain ownership over the easement. Exhibit
 20. The Plaintiffs rejected this offer.
       47.   After rejecting the offer to rent or buy the easement, the State of
 Idaho elected to provide Plaintiffs with a license to use the easement. Exhibit
 21.
       48.   These licenses were provided to Plaintiffs in 2018. Exhibits 22-25.
 These licenses are non-transferable to subsequent buyers.
       49.   Plaintiffs attach the tort claim of Vrbeta as Exhibit 26 and
 incorporate all facts, causes of action, and exhibits to that tort claim as if set
 forth fully verbatim herein.
       50.   Plaintiff Boris Vrbeta suffered severe injury due to the actions
 and inactions of Defendants. Plaintiffs Vrbeta also suffered wrongful
 death damages.
       51.   Plaintiffs attach the tort claim of Vincent and Wendy Pomponi as
 Exhibit 27 and incorporate all facts, causes of action, and exhibits to that tort
 claim as if set forth fully verbatim herein.



FIRST AMENDED COMPLAINT FOR DAMAGES AND
JURY DEMAND - 9
         Case 2:18-cv-00527-CWD Document 6 Filed 03/18/19 Page 10 of 20




   52.       The Pomponi's and Meads suffered loss of use of their home,
 weather damage, lack of access to property, due to physical and regulatory
 takings.

   53.       The harm to the marketability to the Pomponi's property is permanent.
   54.       Plaintiffs attach the tort claim of Gerald and Carole Griffin as
 Exhibit 28 and incorporate all facts, causes of action, and exhibits to that tort
 claim as if set forth fully verbatim herein.
   55.       The Meads suffered injury and damage to Dr. Mark Mead's
 chiropractic practice.
   56.      Plaintiffs attach the tort claim of Mark and Clarissa Mead as Exhibit

 29 and incorporate all the facts, causes of action, and exhibits to that tort claim

 as it fully set forth verbatim herein.

                           IV. CLAIMS FOR RELIEF

                                 COUNT ONE:

     VIOLATION OF THE SUBSTANTIVE AND PROCEDURAL
 DUE PROCESS CLAUSE OF THE FOURTEENTH AMENDMENT TO
THE UNITED STATES CONSTITUTION, BY AND THROUGH 42 U.S.C.
                         § 1983
   57.       Plaintiffs re-allege and incorporate by reference paragraphs 1 through
 56 as if set forth fully verbatim herein.
   58.       The Fourteenth Amendment to the United States Constitution
 guarantees that no "State [shall] deprive any person of life, liberty, or property,
 without due process of law; nor deny to any person within its jurisdiction the
 equal protection of the laws." U.S. Const, amend. XIV, § 1, cl. 3.


FIRST AMENDED COMPLAINT FOR DAMAGES AND
JURY DEMAND - 10
         Case 2:18-cv-00527-CWD Document 6 Filed 03/18/19 Page 11 of 20




   59.       Defendants of this 42 U.S.C. §1983 claim are state/government actors
 and as such are required to provide due process of law when depriving citizens
 of their property right to employment.
   60.       Bonner County, Dan McDonald, and Jeff Connolly, as set out above
 and below in this Complaint, committed numerous acts under color of state law in
 a manner that violated the rights of the Plaintiffs under federal statutes and the
 United States Constitution.
   61.       The deprivations of Plaintiffs' federal rights by Defendants were
 made intentionally, recklessly, and/or with deliberate indifference to Plaintiffs'
 federal rights and proximately caused Plaintiffs damages in an amount to be
 proven at trial.
   62.       The rights granted to Plaintiffs by Defendants' personnel policies,
 procedures, and contracts and by federal and state laws and policies provided
 Plaintiffs with a property interest. Said property interest is protected by the Fifth
 and Fourteenth Amendments to the United States Constitution.
   63.       42 U.S.C. § 1983 prohibits a governmental entity, such as the
 Defendants, from acting under color of law to deprive the Plaintiffs of any rights,
 privileges, or immunities secured by the United States Constitution and federal
 law.
   64.       To prevail on a § 1983 claim, the Plaintiffs must prove two essential
 elements: (1) they were deprived of a right secured by the Constitution or laws
 of the United States and (2) the deprivation was committed by a person acting
 under color of state law. West v. Atkins, 487 U.S. 42, 48, 108 S.Ct. 2250, 101

FIRST AMENDED COMPLAINT FOR DAMAGES AND
JURY DEMAND - 11
         Case 2:18-cv-00527-CWD Document 6 Filed 03/18/19 Page 12 of 20




 L.Ed.2d 40(1988); Redman v. County of San Diego, 942 F.2d 1435, 1439 (9th
 Cir. 1991). See also 42 U.S.C. § 1983.
   65.       "A person 'subjects' another to the deprivation of a constitutional
 right, within the meaning of § 1983, if he does an affirmative act, participates in
 another's affirmative acts or omits to perform an act which he is legally required
 to do that causes the deprivation of which complaint is made." Johnson v. Duffy,
 588 F.2d 740, 743 (9th Cir. 1978).
   66.       The Fourteenth Amendment mandates that a governmental entity
 may not "deny to any person within its jurisdiction the equal protection of the
 laws." U.S. Const. amend. XIV. "The purpose of this clause is 'to secure every
 person within the State's jurisdiction against intentional and arbitrary
 discrimination, whether occasioned by express terms of a statute or by its
 improper execution through duly constituted agents." PG Pub. Co. v. Aichele,
 705 F.3d 91, 114 (3d Cir. 2013) (citing Village of Willowbrook v. Olech, 528
 U.S. 562, 564, 120 S.Ct. 1073, 145 L.Ed.2d 1060 (2000)).
   67.       In a 42 U.S.C. § 1983 claim for deprivation of constitutional rights,
 claimant is entitled to seek nominal damages, even in the absence of specific
 injury: "as distinguished from punitive and compensatory damages, nominal
 damages are awarded to vindicate rights, the infringement of which has not
 caused actual, provable injury." Cummings v. Connell, 402 F.3d 936 (9th Cir.
 2005).
   68.       Further, "Compensatory damages may include not only out-of-pocket
 loss, and other monetary harms, but also such injuries as 'impairment of

FIRST AMENDED COMPLAINT FOR DAMAGES AND
JURY DEMAND - 12
         Case 2:18-cv-00527-CWD Document 6 Filed 03/18/19 Page 13 of 20




 reputation..., personal humiliation, and mental anguish and suffering." Memphis
 Community School Dist. v. Stachura, 477 U.S. 299, 306 (quoting Gertz v.
 Robert Welch, Inc., 418 U.S. 323, 350 (1974)).
   69.       Moreover, punitive damages are available even in the absence of
 compensatory damages, if the requisite standard for punitive damages is met.
 See e.g. Erwin v. Cty. Of Manitowoc, 872 F.2d 1292 (7th Cir. 1989); Sahagian
 v. Dickey, 827 F.2d 90 (7th Cir. 1987). Punitive damages can be awarded
 whether jury has awarded no compensatory or at least nominal damages to a
 plaintiff. Erwin, 872 F.2d at 1299. Punitive damages are applicable even in the
 absence of actual damages, Sahagjan, 827 F.2d at 100. Although state law may
 not allow punitive damages without a compensatory award, under federal law,
 when a jury finds a constitutional violation under a § 1983 claim, it may award
 punitive damages even when it does not award compensatory damages. Erwin,
 872 F.2d at 1299. The scope of punitive damages in § 1983 actions is governed
 by the "federal common law of damages" which imposes uniformity when
 enforcing the Civil Rights Acts. Id. (citing Lenard v. Argento, 699 F.2d 874, 897
 (7th Cir. 1983) and Basista v. Weir, 340 F.2d 74, 87 (3d Cir. 1965)).
   70.       To bring a cause of action in federal court the plaintiff must only
 establish that there is a "threatened or actual injury resulting from the putatively
 illegal action...." Warth v. Seldin, 422 U.S. 490, 499 (1975), quoting Linda R.S.
 v. Richard D., 410 U.S. 614, 617 (1973).




FIRST AMENDED COMPLAINT FOR DAMAGES AND
JURY DEMAND - 13
         Case 2:18-cv-00527-CWD Document 6 Filed 03/18/19 Page 14 of 20



                                      COUNT TWO:
           DAMAGES FOR JUST COMPENSATION UNDER THE FIFTH
          AMENDMENT OF THE UNITED STATES CONSTITUTION, BY
                     AND THROUGH 42 U.S.C. § 1983
   71.       Plaintiffs re-allege and incorporate by reference paragraphs 1 through
 70 as if set forth fully verbatim herein.
   72.       The just compensation clause of the Fifth Amendment of the United
 States constitution simultaneously confirms the government's authority to
 appropriate private property and restricts that power to appropriation for public
 use for which just compensation must be paid.
   73.       A total taking may entail physical occupation of private property by a
 governmental entity or a regulation that, while not physically invasive, deprives
 the owner of all beneficial use of his property. In the case of physical the just
 compensation mandate entitles a condemnee to economic renumeration for the
 value of the property taken by the state. The fair market value standard for
 compensation ensures that the property owner is made whole that his economic
 position prior to the taking equals his status thereafter.
   74.       The same is true in the event of a partial taking. A land owner is
 entitled to reimbursement for the net damage is to his remainder property. In
 addition to the fair market value of the independent parcel taken. This inclusion
 of this value in the just compensation calculation for condemnees in partial
 taking cases was meant to ensure that property owners are paid for all that is
 taken from them in the event that a governmental entity exercises its eminent
 domain power. Just compensation requires that an owner of property taken


FIRST AMENDED COMPLAINT FOR DAMAGES AND
JURY DEMAND - 14
         Case 2:18-cv-00527-CWD Document 6 Filed 03/18/19 Page 15 of 20




 should be paid for what was taken from him. It deals with persons, not with
 tracks of land. The question is, what has the owner lost?, not what has the taker
 gained?
   75.       Here there is a duty under contract for Bonner County to maintain the
 bridge and roadway at its expense. Its failure to do so and the subsequent
 closure and restrictions to said bridge have deprived Plaintiffs of the full use of
 their properties.
   76.       Further, there is an easement appurtenance to Plaintiffs’ properties
 that stems from the Land Patents of 1916 and 1919 and was ratified by the 1934
 easement Griffins gave to the state of Idaho. As evidenced by the deeds in the
 chain of title as well as the documents provided by Bonner County on April 11,
 2018 at the commissioners public meeting in Priest River, the County became
 the owner of the road, either by agreement with the State or by transfer from the
 State to the County. Otherwise, the County commissioners, in 1998, would not
 have had standing to the declare the road “unmaintained.”
   77.       As a consequence of the closure of the bridge, the weight restrictions
 placed on it, and the reduction of the right to use the easement to a life term
 license has diminished the value of Plaintiffs’ property in an amount to be
 proven at trial.
   78.       Defendants of this 42 U.S.C. §1983 are state/government actors and
 as such are required to provide due process of law when depriving citizens of
 their property right to employment.



FIRST AMENDED COMPLAINT FOR DAMAGES AND
JURY DEMAND - 15
         Case 2:18-cv-00527-CWD Document 6 Filed 03/18/19 Page 16 of 20




   79.       Bonner County, Dan McDonald, and Jeff Connolly, as set out above
 and below in this Complaint, committed numerous acts under color of state law in
 a manner that violated the rights of the Plaintiff under federal statutes and the
 United States Constitution.
   80.       The deprivations of Plaintiffs' federal rights by Defendants were
 made intentionally, recklessly, and/or with deliberate indifference to Plaintiffs'
 federal rights and proximately caused Plaintiffs damages in an amount to be
 proven at trial.
   81.       The rights granted to Plaintiffs by Defendants' personnel policies,
 procedures, and contracts and by federal and state laws and policies provided
 Plaintiffs with a property interest. Said property interest is protected by the
 Fourteenth Amendment to the United States Constitution.
   82.       42 U.S.C. § 1983 prohibits a governmental entity, such as the
 Defendants, from acting under color of law to deprive the Plaintiffs of any rights,
 privileges, or immunities secured by the United States Constitution and federal
 law.
   83.       To prevail on a § 1983 claim, the Plaintiffs must prove two essential
 elements: (1) they were deprived of a right secured by the Constitution or laws
 of the United States and (2) the deprivation was committed by a person acting
 under color of state law. West v. Atkins, 487 U.S. 42, 48, 108 S.Ct. 2250, 101
 L.Ed.2d 40(1988); Redman v. County of San Diego, 942 F.2d 1435, 1439 (9th
 Cir. 1991). See also 42 U.S.C. § 1983.



FIRST AMENDED COMPLAINT FOR DAMAGES AND
JURY DEMAND - 16
         Case 2:18-cv-00527-CWD Document 6 Filed 03/18/19 Page 17 of 20



                                 COUNT THREE:
                 PHYSICAL AND REGULATORY TAKINGS
   84.       Plaintiffs re-allege and incorporate by reference paragraphs 1 through
 83 as if set forth fully verbatim herein.
   85.       The State of Idaho and Bonner County's actions detailed in Exhibits
 1-29 constitute physical and regulatory takings in violation of the United States
 and Idaho Constitutions, particularly, but not limited to 1) Idaho Constitution
 Article 1, Section 1, Article 1 Section 14, Article XVIII, Section 11, and Article
 XXI Section 20 and 2) the 14th Amendment of the United States and substantive
 due process under Bivens.

                                  COUNT FOUR:
          BREACH OF CONTRACT/THIRD-PARTY BENEFICIARY
   86.       Plaintiffs re-allege and incorporate by reference paragraphs 1 through
 85 as if set forth fully verbatim herein.
   87.       Plaintiffs assert breach of contract against the State of Idaho, Bonner
 County, and individual Defendants.
   88.       Plaintiffs were an intended and foreseeable third-party beneficiary of
 the contracts and agreement reached between the State, County, and individual
 actors as detailed in attachments incorporated herein to this Complaint.
   89.       Plaintiffs seek specific performance of all contracts to restore the
 functioning of the roadway.




FIRST AMENDED COMPLAINT FOR DAMAGES AND
JURY DEMAND - 17
         Case 2:18-cv-00527-CWD Document 6 Filed 03/18/19 Page 18 of 20



                                  COUNT FIVE:
                 NEGLIGENCE/NEGLIGENT SUPERVISION
   90.       Plaintiffs re-allege and incorporate by reference paragraphs 1 through
 89 as if set forth fully verbatim herein.
   91.       The Defendants, in the alternative, acted negligently by breaching a
 duty which in turn caused harm to Plaintiffs, individually and to their real
 property, by their actions detailed in Exhibits 1-29 attached to this Complaint.

                                   COUNT SIX:
               PHYSICAL INJURY AND WRONGFUL DEATH
   92.       Plaintiffs re-allege and incorporate by reference paragraphs 1 through
 57 as if set forth fully verbatim herein.
   93.       As a direct consequence of the actions and inactions of the
 defendants, jointly, severally and in concert, the closure and/or weight
 restrictions placed on the bridge created a foreseeable hazardous situation
 because emergency services vehicle could no longer cross the bridge.
   94.       Plaintiffs Vrbeta suffered physical and emotional damage and loss
 when Mr. Vrbeta became ill and needed to be evacuated from his property.
   95.       Mrs. Vrbeta is the heir of Mr. Vrbeta.
   96.       Instead of being able to be evacuated by ambulance, the actions and
 inactions caused the emergency personnel to carry Mr. Vrbeta from his property
 by snowmobile sled which further exacerbated his physical condition which was
 a substantial factor in causing his death.
   97.       Defendants negligence was a proximate cause of Mr. Vrbeta’s death
 and Mrs. Vrbeta’s loss of consortium.
FIRST AMENDED COMPLAINT FOR DAMAGES AND
JURY DEMAND - 18
          Case 2:18-cv-00527-CWD Document 6 Filed 03/18/19 Page 19 of 20




    98.       Plaintiffs’ allege they have been damaged because the death of Mr.
 Vrbeta was caused by the collective negligence of the defendants and Plaintiffs’
 Vrbeta seek all damages allowable under Idaho Code 5-311.

                                V. PRAYER FOR RELIEF

      Plaintiffs respectfully pray that this Honorable Court enter and Order granting
Plaintiffs all remedies available by law, including but not limited to an award of:
      (a)     pecuniary losses suffered as a result of the wrongful acts of the
Defendants, to include but not limited to property value losses, personal injuries,
wrongful death, bridge repair, replacement, lost profits, lost wages, loss of use of
property, declaratory relief, pre-judgment and post judgment interest and actual
personal and real property damages;
      (b)     compensatory damages suffered by Plaintiffs as a result of retaliation
as well as punitive damages to the extent allowed under the law;

      (c)     costs and reasonable attorneys' fees incurred with this lawsuit with
interest thereon;
      (d)     Plaintiffs seek specific performance of all contracts to restore the
functioning of the roadway;

      (e)     all other damages allowed in law or in equity; and
      (f)     such other and further relief as the Court deems just or equitable.


                                     JURY DEMAND

              Plaintiffs, by and through their attorney, Troy Y. Nelson of Nelson &

Associates, PLLC, hereby requests that this case be tried to a jury of twelve persons.


FIRST AMENDED COMPLAINT FOR DAMAGES AND
JURY DEMAND - 19
      Case 2:18-cv-00527-CWD Document 6 Filed 03/18/19 Page 20 of 20




     DATED this 18th day of March, 2019.


                                    NELSON & ASSOCIATES, PLLC



                                  By: s/ Troy Y. Nelson
                                  Troy Nelson, ISB No. 5851
                                  Attorneys for Plaintiffs
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FIRST AMENDED COMPLAINT FOR DAMAGES AND
JURY DEMAND - 20
